ORIGINAL
CTJ            Case 4:18-cv-00341-P Document 69 Filed 07/06/20               Page 1 of 4 PageID 381




       .            c?a~s ~tU/- .Vott- .                                          ~ /M /h'e- 4.8~
    ~d~l> ~o~ /'JAiP ~C2U'--b &_~ ~,ll?.sdL.                                  .di.E:_   ?H-e:_ .P_s~1.k:£,Qv
    ~      lfirJ   &:.:zf.o~ ~~~ £-~veL~ ·-~2&:~ fo?.A~lJT/l,.cmt JO(:?_i,·, "~
    _'E!._c r::-~7"" t-doPV~ 7Li!~t_~ ~#~~A/ l2../.s~/e7 CJI" ~.4S C?e0u~
    ~~ ~ ~~o~n~~ 2(~~7~·--------------------- _________
    -----"--~
            !-"
            '#6 7771' /1,.4/'i..mD ds.. t?. 4~ Cv~AITM~ lWt!' Rt~11T ~A i/d;Bj
    1£?&-L...LA/ /6:yER/-le:- o~~r 0tut6 IC/6~Ts :2u/~                         ~ /'/JoP~'-1 ~AI-C.&-'
    AGAI~~r a_at¥1'?.V/?/EAH ~~~,5~ ... _£r_~ /Jh.J<'r~s ~ 7#...47
    if//~ kr._.s I>"{IJ.9'1 '-'   4?/?y-   ~6" :flA/2.. ~/.5 /kr~ f!J~ a~~~ i-._?,4 L!JU5 /fo~;r/6-~'
   ----~   M~
            .:~~::.e~<=-Y- ~~....-&~ &~r tt?L:l>~Rrl> 1'£/d1tfl?Er' ~ /-J12£.n.V&_~ ~ /?
   _s_6m£~&"P7 M.#i5L@e. ::Be;rw~# 7..Zc1" ·~~s,. /?fl.c~ ·(!PA'.:J' ~~~
     ~ :??tVAITI~ MD CfF/c.H ~rY-: U/~ A/~'17£-9~ or: ·7JJr:s P/F&~;r- 7/'-16:
    P.4~ ~c;;. p:7ttJIJ /A.-e %~., ~ ~~ dr~/l, ~4~ 1?/1/~/ltfF".tV.H.s
    //11 t?TT~tt;,J·e:c, 7kff dot.R/b-r /l?A-v~p-,e .. wA? ~/14CJ'Gi:J ~;;1> 7i~~71Er­
    #.S ·'JOQ ~ cSb~/?1/T ?i;ys                  rlllc:T //11   tU,e 'r7.«2~ -re:- ~~E a~~ 4;vD rRAT
   .~4~-~=~~-------------------------------------------------
   _________ G_ .u J.#cK ~L' J4D ~~) ~.q/A.J~PF ~AS /K£:_~6-'o /#4T 7/-lc-
   _tf!l,gy~ ~7-f!~G ,q??~.il~~ ):;2::;;~';2 ::5~~/1/'tZ~ii}-i ·~"~~ kl"'/We
   _4p~a ~ /Hv ~ ..w/1~~~ /'~ ~A/J77rT w~ ~ ~/?ou.J6
   ~~Vo ~4-la~ 8U,; AV~~p7""~~ ~c &2ov~ c?Jft-" 7ltLS. :Z~c-5_
    Al'~£!;-~.b££~~&Yc,/4/t?/1:puz ~ /~ ~IItl'/ -~ A~<'l                                         soel(

   ~/c&j             I<J-I(tev     ~/v-z"tff ?U_~ /r$.S(JK~P ~LI) .tl~/:;!~lf!-.::__ _ __
                 =-# ~~ ~ ~/9.N..s~~L~/';1 t?~~L~..S ~E 3~ ~
   __________;_A_C:5
   %/5 ~d,l:) ?§Y-5PB.7f's::)Al!!!o_B.#/)rr4PT~\Z)P~ /?tL_A?~tU ~~~
   C{c-L~ .... ~if/~~ ~~p $. ~                           /'h¥.s;   ~-?Lf#-z: ?iiF N~/'CC tf}~
   ,;A-86u7 · 74E      Jm r~&/A'7cf';p.../Ttf'!:"t!2!1££M.JU~ s~~JJ          a_ur--rt~~ 45:. /T.a.?/15
                                                       ~6c/o,rb
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                '#!             I                                                    <~·j,~~o • :\ -   •                             ~ ,_· f ~:~~.• •                                          '                    •



       /(dT    LZ19tAJ17Ee ,e~t-T- d/L ...J"d=evte~~ur:_ ZlfG C2_t~v.<.,T> _ ~~..5/6..«-_,-!/~
                                                                                             ...._·_
        __            . . ~~TnP/ jzRI!dT~~-·S li_~JJ,./;&~                                                                                                   6.u7£':"4-/AJ 6                           flF"fP.trA!~!>~
        _t/.@_~7/~~ 72,/J c~ fl_i~ ~~ fJYdPJ;~',;~ A~~Y-. / tCK';t-(173175. ~ /~A1?
         G~~Q~ ~/5 Lda:>~v~f?IJ! /L~s ;?i-t;_Cl~7vl) L1(2~&?ah7~AJTor
         C'Ot4-V~'- /b~J!. ?"w7. L~<J 7~E z.:>e,ar:Y~Y- · ~>..i ·_,?.!:} /:17~?~/·· ~j'"t?-~.·: . .
        _/5.$~>-.- ~~ tJo/lz&·c4~t> L~A~~-- ~~ £oi:.:/iJ;; /4~:u.~Gt1       '--'~:_ _ __
             · .' · ~ t?ouc-~ £~~L> ··· 'l¥:8c:.r~cl~_s_P2~ Ak:r-~'fJ~-~~ ~y'.;
        -.P~&'~t-~,A-t-y1 .sudu_As-_d<ri7~-~~dP~:. i£-i~Aerlce,/# rr~~ 12t..$/?ltc,r:YL!J
      (?-> j:>o€:uM.~ ~e..E-.vPCM1f~M.~Ei:!l~H -. ~.1'2.5 /r?~lJ fi'PD /V~;tJt!E=~GJ).
   ·..}!n/~EC:·&-r /Ht5. .tt?jc./A-1' &,e~ <::Lh:P~?;;_w~~>--5 ~ u~~T~~~
       4? /kn'o;vj, g: 3?Prr~ . f%ve?; .£-v;~~ ~/Jn?b· #. ;r~6 ;t7ie:oe·o., . . · · · :.·:·;· :· _· ..
                .      ·~             .       -~·     .                                     .7                                             .             ~                 ' .    j    •   •       •     •          •    . - .• •   •• · •   ·~.·        ••




         .                  . ;a;,;A/r;E.e· L:k                   ·~OGt:;/1/ /Jd;oj L/tl ~d· C1.V . ~t:JiL tJ:~eA> IO!U-$ ip)/ ~ :.
        ~~;;c'f~/5:ftJGs ~                                     ~j2P.~'Z:_~~ OF" ~~G-·- ~~~ ;8: q>~.s~:~?f"~·.:. _:.:~. : '........ .
,. .    Lftpil~r &.e~,%~~ _57lt;ie_ ~~ f&_pfA-rt~~ 7#,::/ ..&·~~7-r~ d}Aij~~ : ·. ·.
        ;,.f.···6bt.J.,4·t?f2r? %~ _ (_.se-e .Mt97L.Ott.J ('L~UE"G/1-~ o~>,;_/IC/c~G,vj;,'' /z~~JJ.-/.~ .· . ·..··. ··:.· ·.,-
       .Li_/L.,-· ~7ll c::lov,eT ~ /t-74~ .:<'O::?-oJ_ · &AL~77C.F &..,.:wc-:A L~% 6J:J .L:d)i-~'" ~.
                 '        .   ·, . .                                                                 . . .. .
                                                                                                ~~.!?'

       ~ ~/_::29(3Q..« /A/~ O~JIV<€"~z2fA..IVJ)_"ZMa,l<_M~ J,-~~ ~(/H.)~~ /i"l{'· tf_~~:
       -*' 4    7/n.GZ)             '~p-p~?O/<y__ sv~,l!,£/p/o~ ..:s;;r,-,re-.s..L'H.~..L961..~~ ~~-~i.sjO&J     .''


       P/12 ~ ?~a,.,§ c.u~.o ~~ 1'9ec:v~.vU97&!!/_ t:JI!:g__i'9LlLnze.. _56ev~ n~ b!'~l>
       .2fA'f'~ Ck~l'lf ~w~.IJ .- .... ,. ~tf:VAt.- /~~ "F~A-IP:Pe:e;_ fffre~i:JZ' ...:fepr~ /ljl~··_:_:
   . ?#E     _?,;q~ ?J~~ Tlo"*'~ g U/f./Pr?'e;.._                                                            .                                                         .                                                    ·           ·.
                                                                                                                                                                                                                                                    . :      ...

       ------~ Ft56;;7T?Ff77DzJ                                                                            STA rdrti/               4r- 6-<y h"7c, c.·~/~· ~ c?tt~u..9~« ~ : ·:
       tlo.-t'561:flubcJI~ ~ ~ .19n L?e>~cr~o~ ..-/f.?.~ ~~~7i.::??...r;_,.._~(:7/~ ?'df·;                                                                                                                                                           ··:·=

        .ltRtX6        po,qa~~cLL2fl~~A//.s7_; u...Jl?~IZ' ·t!J)f/ .4~RC:~5..dT~ £/E?:_j.oMet · .
        .::(;4A/O/}d~-'-c-~t/b./0.6P_L~(/)u.t~GJ>_;): ~/lllt/'7/f:'~ ~ . ?~/....V,:~V/.,5/-I                                                                                                                            iiU
       $cL./?Ufi!'!),__;£Zcqr 76 ·. .s£.~'/)./~trJ?/dA7/~~ Su8/11/7Y~                                                                                                                                         70.
         .:::aA/E ~/.5./lc?J                    -;?;..x_C;iviht· ~4">r,-,.,J/.17/~~- ~r ~k/1                                                                                                                 g/_vr7r-,c
        hoE.t> 3               ~rf'/JK/fTt7 ~S L!--1$~7-?Zt-16:-_~ LAWoe,t;/11ec                                                                                                                             &r .SAI.P
                                                                                                ~~ff*;3                                                                                                                                             '·
          Case 4:18-cv-00341-P
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                     • - -.    Document 69 Filed 07/06/20
                              -· ·    t ' •'•   .                                                      Page 3 of 4 PageID 383




..L£:!A- ~£>-e ~B~ e' 6# {./jC/-r?~~. A..:fL1 ~v ~:;- /rle- /$;eo~ "'%41U>
 ~~b#d7J7';..J~ tf?7Evtf31) #le-~.Al/&-~~                                             /?c:r p?,P         :e~a.2..7LA/"~_.zq         iB_£
_54tF;~~ #~ ~tJ, ~Ht'f!-: . ~o,_~d'g f0t_5 ?.c:s~BVG_1 s-;¢. ~a~                                                                                 ·
_;Z_ovt-D-., Z'c--~~7/2#/ou tV~ 7,:!/e .~.P~
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                                                                                                     4N<Z/c:>'l/   ' 'A·:+t~Ji?l!:£ ,L/_,«:1)>,.
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_ _ ____:..~sc-;.;n;a ?#u:_~;,~p ){,B,.s 1l~P71~~ P.5d_ /~"P                                                                        &?"-

 r/1~ PUJ~'f2/ITtPAtf- ~e:~~:SG". ~                                7il'&rrfr?~/ "?Rc;~/Zid-n /W.e I L5
                                                                 ,/?

~-;? j?~IP/VS W/7H                                  (!J,/,?'Fti=N~ ?f~LJL!r~ ~w..V /?fer ?o.+~P
#zf" / f _.!!/A/o ~ur 46: A- ?&?~ tVA5 6GI/K'lE¥~~<EA ~neD~.
//&'~e /r-" ~-"'&~ &-~ ~ ?bsr ~                                             <€'?Ao.$6-     SL!~         u,s; ~& &-..si!~_/!/-3lJ 17'3
_ _ _._____;;
          ;_..:.
              £
              A-=· v..~~#;M-ee,u~
                      :. =.       /1 ~£ s~r ~2cJ-l2c Jji2'L.tt4i -3tJA;J:p                                                       t:!P.tV A       -
.J2'Et¥i?Wct: I'!'E S#ouU> NC'Vde /M-IlS ~AI /l-4tC.G£:> V..UP'flf!.-~ &~e.N'~-?__,-
 f'?"!?U-f~ ~l:t;_e<l.Ak.r;e,.../#6- L_HAecu&LJ.7'F- ~                                       L41       ~~ /~~Gs.,                $eMAt-$~

k21,;::.3i> 6_'j!_fl_, N-t£ Sd~.eE~o                            &.&1         !-15"a /.tV .4.-b.n"t:tz"""' ~~.A(I-1~_ /~?~v-. 9tc.!.
~7;rcrlff..£i-P-.Rz:...l2fcllJ:.rf/e#~<P.e
                                      .    .
                                            ~~loP; ~_F //1/eA~-<A-710\J                                         /l,tJ'l;?
                                                                                                                      .
                                                                                                                            f6sr-/o!JC _
                                                                                                                                     . .
:Jl!~~~ _?E-L~A-56- Wd'~LiT~ 4~                                                       %=2-      c_b3_ ,q,Vt>   ~ /O t!Zt.( £pJ, c?ou.f'(:..
              11-Rtmr-F'/.5                         v 7~s cc-~~~-~n;-~<CY- ~ll,A'.t:~6_o7 ,~-~~ J~.sr-,..?t--t:.
~ ,uit;~J2L7lY-- ~_5S,'~ft/<U,./_:5 -,1/d,?J~ V~[t:-t!C;~ C~.. ~~~/-W~'-£~/~j)(/C-­
e£G;f.kv Or ~II±Te              t?~D~Lf.L.S_L!t.:/1> ~eY-. <JPr/C/h4:5 fo'r&r ..VJE ~.€ ~i-Ll.~! ~
~       %     0,11?1:' dA/_ ,4-,.V /JiJ:2/JLLJ?vt?t-f                  <?.~.57'/'L_r./T/cJ~t.. :ii~qE!_, ~.S A::;7?cvJ
W.r7..f#;;;rr&vt.y 'P.IJI'£L-t.~I51J . wall_~u:z._J;}tL~t__~e.&;;i...> '21~.U6 5C/f_&c~_i5vr­
Qcm~ /.Ovcs (.,0~ NOT t!f't.N-~·# PCt.fJW&:b ~                                                 /2e 73~61/G/-1,-f!Jo7: 94/ftv,T/.Cr'
~)b      7/i/.:P   Ow~               z; .4~ /M-..s                 rfC?loD            70 -1f<Q~6'.1J,.                                       _

-~------,------------,-.~ff~7f?vu'/-_ 5<J_l3/~t77'~!:>/ .
----~----------~--'_____· 0~~                                                                                                      ~5e
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                         7.$&= L'vr~
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         Case 4:18-cv-00341-P Document 69 Filed 07/06/20                        Page 4 of 4 PageID 384




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